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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



   JOHN DOE,
                                              Case No. 21–cv–20706–SDW–ESK
             Plaintiff,

       v.
                                                            ORDER
   BAILA SEBROW,

             Defendant.


        THIS MATTER having come before the Court for a settlement conference
  on December 21, 2022 (Conference) (see ECF No. 18 ¶ 1); and defendant having
  failed to appear for the settlement conference; 1 and defendant’s counsel having
  failed to serve the information required under Federal Rule of Civil Procedure
  26(a)(1), as ordered by the Court (ECF No. 21); and for the additional reasons
  stated on the record at the Conference,

            IT IS on this 21st day of December 2022 ORDERED that:

        1.   Plaintiff’s counsel is directed to file an affidavit of services for
  preparation of plaintiff’s settlement memorandum and for attendance at the
  Conference by December 28, 2022 . Defendant may file a response to the
  affidavit by January 4, 2023.

       2.   Plaintiff is granted leave to file a motion for sanctions and other
  appropriate relief for defendant’s failure to comply with the Court’s orders of
  November 10, 2022 (ECF No. 18) and December 12, 2022 (ECF No. 21).

       3.    An in-person conference is scheduled for January 18, 2023 at 2:00
  p.m. before Magistrate Judge Edward S. Kiel in Courtroom 8 of the United States
  Post Office and Courthouse. Defendant shall appear for the conference.




       1 The Court notes that defendant’s counsel emailed a settlement memorandum to

  the Court but at the Conference, represented to the Court that he understood the
  Conference to be a scheduling conference for which defendant did not need to appear.
  The Court also notes that defendant’s counsel telephoned chambers on December 20,
  2022 and was advised that attendance by defendant was mandatory for the Conference.
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        4.   Defendant’s counsel shall serve a copy of this order on defendant by
  regular mail, certified mail (return receipt requested), and email by December
  27, 2022, and file a certification of service confirming same. Defendant’s counsel
  shall also order a transcript of the Conference and serve a copy of the transcript
  on defendant, in the same manner as above, within seven days of his receipt of
  the transcript and file a certification of service confirming same.



                                                 /s/ Edward S. Kiel
                                                EDWARD S. KIEL
                                                UNITED STATES MAGISTRATE JUDGE




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